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      DANIELLE LEE SMITH                                         August 14, 2020
      HOLCOMBE vs USA                                                          1

·1· J5919512 eb

·2

·3· · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·4

·5·    JOE HOLCOMBE, ET AL· · · · ·*
· ·    · · · · · · · · · · · · · · *
·6·    VS.· · · · · · · · · · · · ·* CIVIL ACTION
· ·    · · · · · · · · · · · · · · * NO.: 5:18-CV-00555-XR
·7·    · · · · · · · · · · · · · · *
· ·    UNITED STATES OF AMERICA· · *
·8

·9

10

11
· · · · ·VIDEOCONFERENCE ORAL & VIDEOTAPED DEPOSITION OF
12· · · · · · · · · · ·DANIELLE LEE SMITH
· · · · · · (FORMERLY KNOWN AS DANIELLE LEE KELLEY)
13

14· · · ·(Reported Remotely pursuant to the Emergency
· · · · ·Order Regarding the COVID-19 State of Disaster)
15

16

17

18

19· Date· · · · · · · · · ·Edith A. Boggs, CSR

20

21· 8-14-2020· · · · · · · HOUSTON, TEXAS

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·1· · · ·Q.· Do you speak to any of the plaintiffs in
·2· general, not pertaining to this action?
·3· · · ·A.· No.· I try to keep to myself.
·4· · · ·Q.· Have any of the plaintiffs in this action asked
·5· you for any favors or any documents?
·6· · · ·A.· No.
·7· · · ·Q.· Do you currently attend the First Baptist
·8· Church?
·9· · · ·A.· No.
10· · · ·Q.· Does your mother, Michelle Shields, still
11· attend the First Baptist Church of Sutherland Springs?
12· · · ·A.· Yes.
13· · · ·Q.· Do you know -- would you consider her an active
14· member of the church?
15· · · ·A.· Yes.
16· · · ·Q.· How would you define active?
17· · · ·A.· I mean, she's a board member.
18· · · ·Q.· Does she attend services most Sundays?
19· · · ·A.· Almost every Sunday.
20· · · ·Q.· Other than the meeting that we previously
21· discussed where you met with four attorneys for the
22· plaintiffs and, as a result, you provided a statement,
23· have you met with any other attorney -- plaintiffs'
24· attorneys in this case?
25· · · ·A.· No.


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·1· divorced when you were around 10, 11, 12, as you said,
·2· and can you give a sense of how old you were when
·3· Michelle Brassfield remarried?
·4· · · ·A.· It was my teenage years.
·5· · · ·Q.· Donald -- Donald Brassfield was eventually
·6· criminally prosecuted for sexually assaulting children;
·7· is that correct?
·8· · · ·A.· Correct.
·9· · · ·Q.· Were you one of the victims in that
10· prosecution?
11· · · ·A.· Yes.
12· · · ·Q.· You were a named victim in the prosecution?
13· · · ·A.· Yes.
14· · · ·Q.· You testified in the -- at the trial?
15· · · ·A.· Yes.
16· · · ·Q.· When did the trial occur?
17· · · ·A.· 2019.
18· · · ·Q.· We talked a little bit about your -- your
19· participation at the First Baptist Church as a
20· volunteer.· Can I ask, to the best of your recollection,
21· when did you start going to services at the First
22· Baptist Church?
23· · · ·A.· I don't -- I don't remember.· It was since I
24· was young, really, really young, like I -- I grew up at
25· the church.


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·1· · · ·Q.· And you went with -- with Michelle Brassfield
·2· at the time?
·3· · · ·A.· Yes, and my grandmother, Lula White.
·4· · · ·Q.· Would Donald Brassfield attend?
·5· · · ·A.· No.
·6· · · ·Q.· Did he ever attend, as far as you remember?
·7· · · ·A.· No, he never attended.
·8· · · ·Q.· Did you have a lot of friends at the church
·9· while you were growing up?
10· · · ·A.· Not a lot.
11· · · ·Q.· Did you have some?
12· · · ·A.· I didn't have -- I didn't talk to a lot of
13· people.
14· · · ·Q.· Did you enjoy going to the church?
15· · · ·A.· At times, I did.
16· · · ·Q.· What did you enjoy about it?
17· · · ·A.· I just liked going.· I liked -- at the times I
18· was going when I wasn't going through a lot, I just
19· enjoyed the atmosphere and the friendliness.
20· · · ·Q.· You found the people there to be friendly?
21· · · ·A.· Yes.
22· · · ·Q.· When did you first meet Devin?
23· · · ·A.· Around when I was 12, 13 years old.
24· · · ·Q.· This was around 2008?
25· · · ·A.· I believe so.


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·1· · · ·A.· Yes.
·2· · · ·Q.· When did you stop being a member of the First
·3· Baptist Church of Sutherland Springs?
·4· · · ·A.· I don't -- I don't remember.
·5· · · ·Q.· Before the shooting?
·6· · · ·A.· It was way long before the shooting.
·7· · · ·Q.· How many years before the shooting?
·8· · · ·A.· Yeah, I don't know.· I guess just take whenever
·9· I was 18.
10· · · ·Q.· So, you basically stopped being a member of the
11· First Baptist Church at age 18, correct?
12· · · ·A.· Yes.
13· · · ·Q.· So, I believe you had previously talked about
14· the divorce, and then you said it within the context of
15· 26 people being killed and -- and many more injured.
16· Did I hear that correctly?
17· · · ·A.· Yes.
18· · · ·Q.· Do you believe that your request for a divorce
19· had any bearing on the mass shooting?
20· · · ·A.· Yes.
21· · · ·Q.· How so?
22· · · ·A.· I feel like he was punishing me because I
23· didn't want to be with him.
24· · · ·Q.· He was punishing you by committing a mass
25· shooting at a church that you stopped going to at age


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·1· 18?
·2· · · ·A.· Because I grew up in that church.· My family
·3· went to that church.
·4· · · ·Q.· You weren't -- you weren't in the --
·5· · · ·A.· He killed the babies -- he killed the babies I
·6· helped raise.
·7· · · ·Q.· You weren't a member of that church --
·8· · · ·A.· I watched -- because I wasn't a member of that
·9· church doesn't mean anything.· Those Hill babies, I was
10· there when their dad died.· I wiped those babies' tears
11· when they were crying because their dad died, and he
12· took those babies from here.· He punished me because I
13· didn't want to be with him.
14· · · ·Q.· You had asked for a -- for a divorce several
15· times before that incident; isn't that correct?
16· · · · · · · · MR. HOROWITZ:· Objection, asked and
17· answered.
18· · · ·Q.· (BY MR. STERN)· Correct?
19· · · ·A.· Correct.
20· · · ·Q.· And have you given this as a basis for why you
21· believe he committed the mass shooting previously?
22· · · ·A.· Are you saying -- I mean, can you rephrase
23· that?· I'm sorry.
24· · · ·Q.· You were interviewed by the Department of
25· Defense Inspector Generals, correct?


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·1· · · ·A.· Yes.
·2· · · ·Q.· Because your main concern were those two
·3· children you had, correct?
·4· · · ·A.· Yes.
·5· · · ·Q.· And were --
·6· · · · · · · · MR. STERN:· Objection.
·7· · · · · · · · MR. WEBSTER:· What's the objection?
·8· · · · · · · · MR. STERN:· Leading.
·9· · · ·Q.· (BY MR. WEBSTER)· Okay.· Let me ask you this:
10· Can you explain to the judge what changed with respect
11· to your daughter and the physical abuse you were taking
12· and why you decided to demand a divorce?
13· · · ·A.· I didn't want my daughter to think that it was
14· okay to be abused by a man.
15· · · ·Q.· And so, you -- were you -- how would you
16· characterize -- were you serious that day when you told
17· him you were moving out?
18· · · ·A.· Yes.
19· · · ·Q.· And -- and what was the plan that y'all -- that
20· you devised to leave that day?
21· · · ·A.· I told him I wanted a divorce, that Monday we
22· were going to go down and file a divorce and we were
23· going to meet my mother, Michelle Shields, halfway and
24· he was going to let me go, with the kids.
25· · · ·Q.· And this had been a man that had controlled you


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·1· · · ·Q.· Can you explain to the judge why Devin Kelley
·2· did not like used guns -- used guns?
·3· · · ·A.· He wanted --
·4· · · · · · · · MR. STERN:· Objection, calls for
·5· speculation.
·6· · · ·A.· He wanted them to be brand new because he likes
·7· new guns.
·8· · · ·Q.· (BY MR. WEBSTER)· And why did he like new guns?
·9· · · ·A.· He wanted them to be able to work properly.
10· · · ·Q.· Was he afraid that some of the -- did the older
11· guns that he had -- that he had swapped for the dog and
12· the shotgun didn't work correctly, in your -- from what
13· you understood, correct?
14· · · ·A.· I guess he did not want them to malfunction.
15· · · ·Q.· Okay.· And so, all the guns that he ever looked
16· at, at least window shopping with you, all of those guns
17· were all new, was the only thing he would look at,
18· right?
19· · · ·A.· Yes.
20· · · · · · · · MR. STERN:· Objection.· She previously
21· testified that she was not -- she was not paying
22· attention when he was looking at firearms.
23· · · ·Q.· (BY MR. WEBSTER)· Let me ask it a different
24· way.
25· · · · · · · · When he would look at firearms and would


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·1· face before he left?
·2· · · ·A.· Yes.
·3· · · ·Q.· And then you were stuck there on the bed and
·4· couldn't leave or get up, correct?
·5· · · ·A.· Correct.
·6· · · ·Q.· And you were unable to try -- did you try to
·7· untie yourself?
·8· · · ·A.· I couldn't.· I was hog-tied.
·9· · · ·Q.· Did you have any idea at that point in time
10· when you were laying there hog-tied on the bed what he
11· might be doing?
12· · · ·A.· I had an idea that he was going to go do
13· something bad.
14· · · ·Q.· Okay.
15· · · ·A.· I didn't know what.
16· · · ·Q.· Did you think that he was going to do something
17· bad because he intended to punish you?
18· · · ·A.· I felt like it, yes.
19· · · · · · · · MR. STERN:· Objection, speculation.
20· · · ·Q.· (BY MR. WEBSTER)· Now, you talked about the
21· church earlier.· Did he know your family went to that
22· church?
23· · · ·A.· Yes.
24· · · ·Q.· Did he know that you had people -- loved ones
25· in that church?· When I say loved ones, not only family


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·1· members but people that you care for, correct?
·2· · · ·A.· Yeah.
·3· · · ·Q.· And had he -- had Devin ever threatened to kill
·4· you?
·5· · · ·A.· Yes.
·6· · · ·Q.· How many times?
·7· · · ·A.· Numerous of times.
·8· · · ·Q.· So, over the time -- from the time we're saying
·9· from you're married forward up until this day, he had
10· threatened to kill -- to kill you many times?
11· · · ·A.· Yes.
12· · · ·Q.· Did he -- did he -- would he get upset and
13· threaten to kill other people?
14· · · ·A.· He would say if I left him, he would kill me or
15· my family.
16· · · ·Q.· So, he threatened this type -- Devin threatened
17· to kill people other than just yourself routinely?
18· · · ·A.· Yes.
19· · · ·Q.· Did you ever hear him complain or say that he
20· wanted to threaten or kill anyone from one of his jobs?
21· · · ·A.· No.· Not to my face, no.
22· · · ·Q.· Okay.· Well, did you ever hear about it in
23· general?
24· · · · · · · · MR. STERN:· Objection.
25· · · ·A.· No.


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·1· COUNTY OF HARRIS· )

·2· STATE OF TEXAS· · )

·3

·4· · · · · · I hereby certify that the witness was notified

·5· on ____________________ that the witness has 30 days or

·6· (_____ days per agreement of counsel) after being

·7· notified by the officer that the transcript is available

·8· for review by the witness and if there are any changes

·9· in the form or substance to be made, then the witness

10· shall sign a statement reciting such changes and the

11· reasons given by the witness for making them;

12· · · · · · That the witness' signature was/was not

13· returned as of ____________________.

14· · · · · · Subscribed and sworn to on this, the 17th day

15· of August, 2020.

16

17

18

19
· ·   ______________________________
20·   Edith A. Boggs, CSR No. 3022
· ·   Firm Registration No. 03
21·   Expiration Date:· 7-31-2022
· ·   1235 North Loop West, Suite 510
22·   Houston, Texas· 77008
· ·   Ph. No.:· (713) 524-4600
23

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